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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________
                                                            X
THE NEW YORK TIMES COMPANY,                                 :
and JOHN T. EWING, JR.,
                                                            :
                                       Plaintiffs,
                                                            :
                                                                    COMPLAINT
                       - against -                          :

UNITED STATES DEPARTMENT OF JUSTICE,                        :

                                                            :
                                        Defendant.
                                                            :

________________________________________________X


Plaintiffs THE NEW YORK TIMES COMPANY and JOHN T. EWING, JR., by their

undersigned attorney, allege for their Complaint:

               1.      This is an action under the Freedom of Information Act, 5 U.S.C. § 552

(“FOIA”), to obtain an order for the production of agency records from the Department of Justice

(“DOJ”) in response to a request properly made by Plaintiffs.

                                             PARTIES

               2.      Plaintiff The New York Times Company publishes The New York Times

newspaper and www.nytimes.com. The New York Times Company is headquartered in this

judicial district at 620 Eighth Avenue, New York, New York.

               3.      Plaintiff John T. Ewing, Jr., is a reporter for The New York Times

newspaper and an employee of The New York Times Company.

               4.      Defendant DOJ is an agency of the federal government that has possession

and control of the records that Plaintiffs seek.
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                                 JURISDICTION AND VENUE

               5.      This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 and 5 U.S.C. § 552(a)(4)(B).

               6.      Venue is premised on the place of business of Plaintiffs and is proper in

this district under 5 U.S.C. § 552(a)(4)(B).

               7.      Plaintiffs have exhausted all administrative remedies available in regard to

the request at issue. See U.S.C. § 552(a)(4), (6).

                                               FACTS

               8.      On December 10, 2018, Mr. Ewing submitted a FOIA request (the

“Request”) to the Environment and Natural Resources Division (“ENRD”) of DOJ for the

following records:

           --A copy of all reports submitted to the Justice Department by the Monitor under the
           plea agreement in United States v. Volkswagen, No. 16-CR-20394 (E.D. Mich) and
           the Independent Compliance Auditor under in Re Volkswagen “Clean Diesel,” No.
           MDL 2672 (N.D. Cal.) and

           --A copy of all “factual evidence” presented by Jones Day to the Justice Department
           as the term is used on page 295 of Volkswagen’s 2017 annual report. Of particular
           relevance are documents related to the involvement of members of Volkswagen’s
           executive board or supervisory board in the events described in the Statement of Facts
           in the above referenced plea agreement.

The Request also sought a fee waiver and asked for processing on an expedited basis.

               9.      On December 10, 2018, ENRD acknowledged receipt of the Request and

began processing.

               10.     On December 18, 2018, ENRD issued a letter granting a fee waiver for the

Request but denying expedited processing. ENRD also noted that because processing of the

Request required “consultation with two or more agency components and may involve a search

of voluminous records” – which, in ENRD’s view, constitute “unusual circumstances” within the
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meaning of 5 U.S.C. § 552(a)(6)(B)(iii) – it was “unable to process [the] request within the 20-

business-day limit specified in 5 U.S.C. § 552(a)(6)(A).” It provided no estimated completion

date for the Request, but anticipated “requir[ing] more than ten additional working days.”

               11.       On December 20, 2018, counsel for Plaintiffs communicated with counsel

for ENRD regarding the processing of the Request. Counsel for ENRD indicated that one of the

documents sought in the Request – the report of the Independent Compliance Auditor – had been

publicly released. She also indicated that the agency would continue processing of the Request as

to another document: the Monitor’s report submitted to DOJ pursuant to a plea agreement.

However, counsel for ENRD stated that the part of the Request seeking “factual evidence”

presented by Jones Day to DOJ required “further clarification or narrowing.”

               12.       On December 26, 2018, Plaintiffs proposed narrowing the aspect of the

Request seeking “factual evidence” presented to DOJ by Jones Day, identifying three discrete

categories of documents:

               a. Documents regarding members of the Volkswagen management board and
                  supervisory board, and particularly any statements by them or others in the
                  course of the Jones Day investigation relevant to their possible involvement in
                  the offenses that were part of the plea agreement. Those individuals are,
                  specifically:

                       i.   Ferdinand Piëch, former chairman of the Volkswagen supervisory
                            board, member of the family that owns a controlling interest in
                            Volkswagen.
                      ii.   Wolfgang Porsche, member of the supervisory board, member of the
                            controlling family.
                     iii.   Matthias Müller, former Volkswagen chief executive.
                     iv.    Martin Winterkorn, former Volkswagen chief executive.
                      v.    Herbert Diess, Volkswagen chief executive.
                     vi.    Rupert Stadler, chief executive of the Audi division, member of the
                            management board.
                     vii.   Hans-Dieter Pötsch (or Poetsch), chairman of the Volkswagen
                            supervisory board.

               b. Any document or report that Jones Day prepared summarizing its findings.
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               c. Testimony or statements by any witnesses regarding a meeting attended by
                  Martin Winterkorn, Matthias Müller and others on or about November 8,
                  2007, to discuss problems with the emissions control equipment of diesel cars
                  to be sold in the United States.

               13.       On December 26, 2018, counsel for ENRD responded that the agency was

“unable to continue processing the request” because of a lapse in appropriations.

               14.       To date, ENRD has not made a determination regarding the Request.

                                               COUNT I

               15.       Plaintiffs repeat, reallege, and reincorporate the allegations in the

foregoing paragraphs as though fully set forth herein.

               16.       DOJ is an agency subject to FOIA and must therefore release in response

to a FOIA request any disclosable records in its possession at the time of the request and provide

a lawful reason for withholding any other materials as to which it is claiming an exemption.

               17.       Plaintiffs have exhausted all administrative remedies under FOIA. See 5

U.S.C. § 552(a)(4)(6).

               18.       Accordingly, Plaintiffs are entitled to an order compelling DOJ to produce

records responsive to the Request.

                                      REQUEST FOR RELIEF

               WHEREFORE, Plaintiffs respectfully request that this Court:

               19.       Declare that the documents sought by the Request, as described in the

foregoing paragraphs, are public under 5 U.S.C. § 552 and must be disclosed;

               20.       Order DOJ to provide the requested records to Plaintiffs within 20

business days of the Court’s order;




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              21.     Award Plaintiffs the costs of this proceeding, including reasonable

attorney’s fees, as expressly permitted by FOIA; and

              22.     Grant Plaintiffs such other and further relief as this Court deems just and

proper.




Dated: New York, New York
       February 14, 2019

                                                    _____________/s/_________________
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